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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            Case No. 11-60702-Civ-COOKE/TORRES

 SECURITIES AND EXCHANGE
 COMMISSION,

         Plaintiff,
 vs.

 COMMODITIES ONLINE, LLC, et al.,

       Defendants.
 _________________________________/
                 ORDER APPROVING RECEIVER’S FINAL REPORT
           AND GRANTING RECEIVER’S MOTION TO CLOSE RECEIVERSHIP
         THIS CAUSE is before me upon the Receiver’s Final Status Report and Motion to Close
 Receivership, filed on August 14, 2018 (ECF No. 337). The Court has reviewed the Final Report
 and approves and accepts the Final Report. Further, the Court has reviewed the Motion to Close
 the Receivership and specifically grants the relief requested and directs the Receiver to take any
 further actions he deems necessary to conclude the business of the Receivership, including the
 destruction of all computers and documents. The Court further finds that when the Receiver has
 completed the remaining tasks identified in the Final Report, David S. Mandel will have fully
 satisfied his obligations as Receiver in this matter.
         Accordingly, it is hereby ORDERED and ADJUDGED that the Receiver’s Motion to
 close the Receivership and to relieve the Receiver of all further obligations in this matter is
 GRANTED. Once the Receiver has completed the obligations set forth in this Order and has
 taken any other steps the Receiver believes are necessary and proper to conclude his duties as
 Receiver, David S. Mandel shall be relieved of all further obligations as Receiver for
 Commodities Online, LLC and Commodities Online Management, LLC, and this Receivership
 shall be terminated. At that time, the Receiver shall file a notice of completion of duties with the
 Court and the Receivership shall be deemed terminated as of the date of that notice.
         DONE and ORDERED in chambers, at Miami, Florida, this 24th day of September
 2018.




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 Copies furnished to:
 Edwin G. Torres, U.S. Magistrate Judge
 Counsel of record




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